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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                           :
UNITED STATES OF AMERICA,                                  :        Case No. 19 CR 366
                                                           :
                  -against-                                :        NOTICE OF MOTION
                                                           :
STEPHEN M. CALK,                                           :
                                                           :
                           Defendant.                      :
-----------------------------------------------------------:

         PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law and all prior

proceedings in this action, third parties James Brennan, Thomas Horn, Matthew MacDonald and

Javier Ubarri (collectively “Illinois Witnesses”), through their undersigned attorney, will move

this Court before the Honorable Lorna G. Schofield, Unites States District Judge, at the United

States Courthouse for the Southern District of New York, at a date and time to be determined this

Court, for an order quashing or modifying the trial subpoenas served upon them, and for any other

relief as the Court may deem just and proper.

         The Illinois Witnesses respectfully request oral argument in connection with this motion.


Dated: January 8, 2021                                Respectfully submitted,

                                                      A&G Law LLC

                                                      By: /s/ Robert M. Andalman
                                                      Robert M. Andalman (pro hac vice pending)
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                                                      Thomas Horn, Matthew MacDonald and Javier
                                                      Ubarri
